                 Case 2:17-cr-00006-JAM Document 37 Filed 05/11/17 Page 1 of 4

           1   KEKER, VAN NEST & PETERS LLP
               BENEDICT Y. HUR - # 224018
           2   bhur@keker.com
               633 Battery Street
           3   San Francisco, CA 94111-1809
               Telephone:     415 391 5400
           4   Facsimile:     415 397 7188

           5   Attorney for Defendant
               INES CROSBY
           6

           7
               PHILLIP A. TALBERT
           8   United States Attorney
           9   TODD A. PICKLES
               MATTHEW M. YELOVICH
          10   Assistant United States Attorneys
               501 I Street, Suite 10-100
          11   Sacramento, CA 95814
               Telephone:      916 554 2700
          12   Facsimile:      916 554 2900
          13
               Attorney for Plaintiff
          14   UNITED STATES OF AMERICA
          15                               UNITED STATES DISTRICT COURT

          16                              EASTERN DISTRICT OF CALIFORNIA

          17
               UNITED STATES OF AMERICA,                  Case No. 2:17-CR-0006 MCE
          18
                           Plaintiff,                     STIPULATION AND [PROPOSED]
          19        v.                                    ORDER MODIFYING CONDITIONS OF
                                                          PRETRIAL RELEASE
          20   JOHN A. CROSBY, INES S. CROSBY, and
               LESLIE A. LOHSE,                           Date Filed: January 5, 2017
          21               Defendants.
          22

          23

          24

          25

          26
          27

          28

          30
                    STIPULATION AND [PROPOSED] ORDER MODIFYING CONDITIONS OF PRETRIAL RELEASE
          31                                  Case No. 2:17-CR-0006 MCE
1163915
          32
                 Case 2:17-cr-00006-JAM Document 37 Filed 05/11/17 Page 2 of 4

           1           This stipulation is entered into by the United States of America and Defendant Ines

           2   Crosby, by and through their respective counsel:

           3           WHEREAS, on January 19, 2017, certain Special Conditions of Release were imposed as

           4   to Defendant Ines Crosby, see Dkt. 17;

           5           WHEREAS, Special Condition 5 required Ms. Crosby to surrender her passport to the

           6   Clerk of the United States District Court, and Special Condition 4 requires Ms. Crosby to limit all

           7   travel to the Eastern and Northern Districts of California unless otherwise approved in advance by

           8   the pretrial services officer;

           9           WHEREAS, Ms. Crosby wishes to join her family for a vacation in Belize from June 9-
          10   19;

          11           WHEREAS, the United States has no objection to modifying Ms. Crosby’s conditions of

          12   release to permit her to travel with her family to Belize for a period of 10 days; and

          13           WHEREAS, the Pretrial Services office does not, as a policy matter, express a position

          14   on requests for international travel, but does report that Ms. Crosby is doing well and is in full

          15   compliance with her conditions of release.

          16           THEREFORE, the parties hereby stipulate as follows:

          17                                             STIPULATION

          18           1.      Ms. Crosby respectfully requests that the Court temporarily modify Special

          19   Condition 4 of Ms. Crosby’s conditions of release to permit her to travel on a one-time basis with

          20   her family to Belize from June 9-19, 2017.

          21           2.      Ms. Crosby respectfully requests that the Court temporarily modify Special

          22   Condition 5 of Ms. Crosby’s conditions of release to permit Ms. Crosby to retrieve her United

          23   States passport from the Clerk of the United States District Court and travel on a one-time basis

          24   with her family to Belize from June 9-19, 2017. Ms. Crosby will be required to return her United

          25   States passport to the Clerk within seven days of her return.

          26           3.      Ms. Crosby and the government agree to this stipulation as indicated by their
          27   signatures below. The parties respectfully request that the Court approve the stipulation and enter

          28   an Order thereupon. A form of Proposed Order is filed herewith.

          30                                                      1
                     STIPULATION AND [PROPOSED] ORDER MODIFYING CONDITIONS OF PRETRIAL RELEASE
          31                                   Case No. 2:17-CR-0006 MCE
1163915
          32
                 Case 2:17-cr-00006-JAM Document 37 Filed 05/11/17 Page 3 of 4

           1   Dated: May 9, 2017                          KEKER, VAN NEST & PETERS LLP

           2
                                                     By:   /s/ Benedict Y. Hur
           3
                                                           BENEDICT Y. HUR
           4
                                                           Attorney for Defendant
           5                                               INES CROSBY

           6
               Dated: May 9, 2017                          PHILLIP A. TALBERT
           7                                               United States Attorney

           8
                                                     By:   /s/ Todd A. Pickles (as authorized on 5/9/17)
           9                                               TODD A. PICKLES
                                                           MATTHEW M. YELOVICH
          10
                                                           Attorneys for Plaintiff
          11                                               UNITED STATES OF AMERICA
          12

          13

          14

          15

          16

          17

          18

          19

          20

          21

          22

          23

          24

          25

          26
          27

          28

          30                                           2
                   STIPULATION AND [PROPOSED] ORDER MODIFYING CONDITIONS OF PRETRIAL RELEASE
          31                                 Case No. 2:17-CR-0006 MCE
1163915
          32
                 Case 2:17-cr-00006-JAM Document 37 Filed 05/11/17 Page 4 of 4

           1                                                 ORDER
           2          The Court having considered the above joint request, and good standing appearing

           3   therefore, HEREBY ORDERS as follows:

           4          1.      The Special Conditions of Release for Defendant Ines Crosby, see Dkt. 17, are

           5   hereby modified as follows:

           6                  i)       Ines Crosby is permitted to travel with her family to Belize from June 9

           7   through June 19, 2017.

           8                  ii)      The Clerk of the United States District Court for the Eastern District of

           9   California is directed to return Ms. Crosby’s passport to her so that she may travel to Belize from

          10   June 9 through June 19, 2017. Ms. Crosby is required to return her passport to the Clerk on or

          11   before June 26, 2017.

          12          2.      All other Conditions of Release remain in place.

          13
                      IT IS SO ORDERED.
          14

          15
               Dated: May 11, 2017
          16
                                                                 _____________________________________
          17                                                     CAROLYN K. DELANEY
                                                                 UNITED STATES MAGISTRATE JUDGE
          18

          19

          20

          21

          22

          23

          24

          25

          26
          27

          28

          30                                                     3
                    STIPULATION AND [PROPOSED] ORDER MODIFYING CONDITIONS OF PRETRIAL RELEASE
          31                                  Case No. 2:17-CR-0006 MCE
1163915
          32
